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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 VOICES UNITED,                                 )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )      No. 1:17-cv-00693-TWP-MPB
                                                )
 CARMEL CLAY SCHOOLS, et al.,                   )
                                                )
                Defendants.                     )

                                      Stipulation of Dismissal


        The parties, by their counsel, pursuant to Rule 41(a)(ii) of the Federal Rules of Civil

 Procedure, stipulate to the dismissal of this case.

        WHEREFORE, the parties stipulate to the dismissal of this case, with each party to bear

 their own costs.

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